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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

RASMUSSEN INSTRUMENTS, LLC,

Plaintiff,

)
)
)
)
)
v. ) CIVIL ACTION
) NO. 20-11807-WGY
DEPUY SYNTHES PRODUCTS, INC., )
DEPUY SYNTHES SALES, INC., )
and MEDICAL DEVICE BUSINESS )
SERVICES, INC., )
)

Defendants.

 

YOUNG, D.J. October 26, 2021
MEMORANDUM & ORDER

The plaintiff Rasmussen Instruments, LLC (“Rasmussen”) and
the defendants DePuy Synthes Products, Inc., DePuy Synthes
Sales, Inc., and Medical Device Business Services, Inc.
(collectively, “DePuy”) ask this Court to determine whether
certain claim terms of United States Patent No. 9,492,180 (the
“\180 Patent”) and United States Patent No. 10,517,583 (the
“‘583 Patent”) are means-plus-function terms pursuant to 35
U.S.C. § 112, 7 6. This Court answers that question in the
negative.

The parties also ask this Court to construe certain claim

terms pursuant to Markman v. Westview Instruments, Inc., 52 F.3d

 

967 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996).

This Court sets forth its constructions infra Section IV.

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I. INTRODUCTION

In 2005, orthopedic surgeon Dr. Gary Lynn Rasmussen (“Dr.
Rasmussen”) filed a provisional patent application for his
“minimally-invasive or reduced-invasive instrumentation for
guiding resection that uses the ligamentous structure of the
knee to guide placement of the instrumentation and the resulting
optimal alignment and physiological positioning of the knee
prosthesis.” First Am. Compl. Patent Infringement (“Am.
Compl.”) G9 2, 18-19, ECF No. 31. Seeking to license his
intellectual property, Dr. Rasmussen met and negotiated with
representatives of DePuy. Id. WW 21-28. Negotiations broke
down in 2014, and no license issued. Id. 7 28.

In November 2016, the United States Patent and Trademark
Office issued the ‘180 Patent to Dr. Rasmussen. Id. 7 11; see
generally Decl. Joy B. Kete Supp. Rasmussen Instruments, LLC’s
Opening Claim Construction Br. (“Kete Decl.”), Ex. A, United
States Patent No. 9,492,180 (“*180 Patent”), ECF No. 44-1.

Three years later, the United States Patent and Trademark Office
issued the ‘583 Patent to Dr. Rasmussen. Am. Compl. 7 12; see
generally Kete Decl., Ex. B, United States Patent No. 10,517,583
("583 Patent”), ECF No. 44-2. Dr. Rasmussen then assigned the
‘180 Patent and ‘583 Patent to Rasmussen, a limited liability

company that he had formed. Am. Compl. {W7 1-2, 11-12.

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In January 2021, Rasmussen filed the operative complaint

against DePuy for patent infringement. See generally id. DePuy

 

filed an answer and affirmative defenses the following month.
See generally Defs.’ Answer & Affirmative Defenses Pl.’s First
Am. Compl., ECF No, 34. DePuy filed an unopposed motion to
increase the number of claim terms for construction, Defs.’
Unopposed Mot. Increase Number Claim Terms Construction (to 19)
& Increase Page Limit Claim Construction Brs. (to 25), ECF No.
39, which this Court allowed, Electronic Order (Apr. 23, 2021),
ECF No. 41. The parties subsequently filed a joint claim
construction statement and briefs in support of their proposed
constructions. See generally Joint Claim Construction Statement
Pursuant L.R. 16.6(e)(1)(D) (“First Statement”), ECF No. 40; Pl.
Rasmussen Instruments, LLC’s Opening Claim Construction Br.
(“Pl.’s Br.”), ECF No. 42; Defs.’ Opening Claim Construction Br.
(“Defs.’ Br.”), ECF No. 43; Pl. Rasmussen Instruments, LLC’s
Resp. Claim Construction Br., ECF No. 55; Defs.’ Resp. Claim
Construction Br. (“Defs.’ Resp.”), ECF No. 56.

This Court held a Markman hearing on July 29, 2021. See
generally Tr. Markman Hr’g, ECF No. 74. This Court tentatively
ruled at the hearing that DePuy had failed to sustain its burden
of demonstrating that the disputed claim terms are means-plus-
function terms. Id. 23-24. This Court ordered the parties to

file a joint supplemental claim construction statement and

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supplemental briefs setting out their proposed plain-and-
ordinary meaning constructions. Id. 24-28; see generally Pl.
Rasmussen Instruments, LLC’s Suppl. Claim Construction Br.
(“Pl.’s Suppl. Br.”), ECF No. 81; Defs.’ Suppl. Claim
Construction Br. (“Defs.’ Suppl. Br.”), ECF No. 82; Defs.’
Suppl. Br., Ex. 2, Suppl. Claim Construction Chart (“Second
Statement”), ECF No. 82-2; Defs.’ Suppl. Resp. Claim
Construction Br., ECF No. 86; Pl.’s Suppl. Resp. Claim
Construction Br., ECF No. 93.
II. LEGAL STANDARDS

A. Means-Plus-Function Principles

Section 112, 1 6 of title 35 of the United States Code
“applies only to purely functional limitations that do not
provide the structure that performs the recited function.”

Phillips v. AWH Corp., 415 F.3d 1303, 1311 (Fed. Cir. 2005)

 

banc); see MPEP 2173.05(g) (9th ed. Rev. 10.2019, June 2020)

claim term is functional when it recites a feature by what it

does rather than by what it is... .” (quotations omitted) ).

Section 112, @ 6 provides:

An element in a claim for a combination may be expressed as
a means or step for performing a specified function without

the recital of structure, material, or acts in support
thereof, and such claim shall be construed to cover the

corresponding structure, material, or acts described in the

specification and equivalents thereof.

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35 U.S.C. § 112, 1 6 (2006 ed.).! “In enacting this provision,
Congress struck a balance in allowing patentees to express a

claim limitation by reciting a function to be performed rather
than by reciting structure for performing that function, while
placing specific constraints on how such a limitation is to be

construed ... .” Williamson v. Citrix Online, LLC, 792 F.3d

 

1339, 1347 (Fed. Cir. 2015) (en banc). Specifically, “in return
for generic claiming ability, the applicant must indicate in the
specification what structure constitutes the means.” Biomedino,
LLC v. Waters Techs. Corp., 490 F.3d 946, 948 (Fed. Cir. 2007).
The inclusion of the word “means” in a term creates a
presumption that section 112, 91 6 applies, and the absence of
the word “means” in a term creates a presumption that section
112, 9 6 does not apply. Williamson, 792 F.3d at 1349. The
party seeking to rebut this presumption must demonstrate by a
preponderance of the evidence “that the claim term fails to
recite sufficiently definite structure or else recites function
without reciting sufficient structure for performing that

function.” Id. (quotations omitted); Advanced Ground Info.

 

 

1 Section 112 was amended and its subsections were renamed
by the Leahy-Smith America Invents Act, Pub. L. No. 112-29, 125
Stat. 284, which took effect on September 16, 2012. Because the
applications resulting in the ‘180 Patent and ‘583 Patent were
filed before that date, this Court refers to the pre-amendment
version of section 112. See Nautilus, Inc. v. Biosig
Instruments, Inc., 572 U.S. 898, 902 n.1 (2014).

 

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Sys., Inc. v. Life360, Inc., 830 F.3d 1341, 1347 (Fed. Cir.
2016); see Linear Tech. Corp. v. Impala Linear Corp., 379 F.3d
1311, 1319-20 (Fed. Cir. 2004) (holding that a patentee has no
burden to prove that a term recites structure). This
determination is based not on the disputed terms “in isolation,”
MTD Prods. Inc. v. Iancu, 933 F.3d 1336, 1342 (Fed. Cir. 2019),
but rather, “under the traditional claim construction
principles, on an element-by-element basis, and in light of
evidence intrinsic and extrinsic to the asserted patents,”
Zeroclick, LLC v. Apple Inc., 891 F.3d 1003, 1007 (Fed. Cir.
2018).

In so determining, this Court may “review[] various
sources, such as the claims themselves, the specification, the
prosecution history, dictionaries, and any other relevant

evidence.” Ruckus Wireless, Inc. v. Innovative Wireless Sols.,

 

 

LLC, 824 F.3d 999, 1002-03 (Fed. Cir. 2016). Arguments and
conclusory language unsupported by record evidence do not rebut
the presumption. Zeroclick, 891 F.3d at 1007-08. Moreover,
“the mere fact that the disputed limitations incorporate
functional language does not automatically convert the words
into means for performing such functions.” Id. at 1008.

B. Customary Claim Construction Principles

Where section 112, I 6 does not apply, Federal Circuit

“precedent for the construction of limitations that are not

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means-plus-function limitations is applied in the customary
way.” Watts v. XL Sys., Inc., 232 F.3d 877, 881 (Fed. Cir.
2000). In these customary claim construction proceedings,
“Tt]he words of a claim are generally given their ordinary and
customary meaning, which is the meaning that the term would have
to a person of ordinary skill in the art in question at the time
of the invention.” Ruckus, 824 F.3d at 1002 (quotations
omitted). “There are only two exceptions to this general rule:
1) when a patentee sets out a definition and acts as his own
lexicographer, or 2) when the patentee disavows the full scope
of a claim term either in the specification or during

prosecution.” Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d

 

1362, 1365 (Fed. Cir. 2012). The standards for both exceptions
are “exacting.” See id. at 1365-66.

“In some cases, the ordinary meaning of claim language as
understood by a person of skill in the art may be readily
apparent even to lay judges, and claim construction in such
cases involves little more than the application of the widely
accepted meaning of commonly understood words.” Phillips, 415
F.3d at 1314 (citing Brown v. 3M, 265 F.3d 1349, 1352 (Fed. Cir.
2001) (stating that terms which “are not technical terms of
art... do not require elaborate interpretation”)). A term

needs no construction when “the plain and ordinary meaning of

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the disputed claim language is clear.” Summit 6, LLC v. Samsung
Elecs. Co., 802 F.3d 1283, 1291 (Fed. Cir. 2015).

In other cases, however, “[a] determination that a claim
term ‘needs no construction’ or has the ‘plain and ordinary
meaning’ may be inadequate when a term has more than one
‘ordinary’ meaning or when reliance on a term’s ‘ordinary’
meaning does not resolve the parties’ dispute.” 02 Micro Int‘l

Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed.

 

Cir. 2008); see Kaneka Corp. v. Xiamen Kingdomway Grp. Co., 790
F.3d 1298, 1304 (Fed. Cir. 2015) (recognizing that a term “may
have more than one plain and ordinary meaning”); Goldenberg v.
Cytogen, Inc., 373 F.3d 1158, 1164 (Fed. Cir. 2004) (recognizing
that a term may have “no ordinary and customary meaning”).

Thus, where the parties dispute the plain and ordinary meaning
of a term, a court cannot instruct the jury to give the term its

plain and ordinary meaning. See Eon Corp. IP Holdings v. Silver

 

Spring Networks, 815 F.3d 1314, 1319 (Fed. Cir. 2016). Rather,
the court must construe the term’s plain and ordinary meaning.

NobelBiz, Inc. v. Glob. Connect, L.L.C., 701 F. App’x 994, 997

 

 

(Fed. Cir. 2017); see AFG Indus., Inc. v. Cardinal IG Co., 239

 

F.3d 1239, 1247 (Fed. Cir. 2001) (“It is critical for trial
courts to set forth an express construction of the material

claim terms in dispute.”); Sulzer Textil A.G. v. Picanol N.V.,

 

358 F.3d 1356, 1366 (Fed. Cir. 2004) (“[T]he district court must

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instruct the jury on the meanings to be attributed to all
disputed terms used in the claims in suit so that the jury will
be able to intelligently determine the questions presented.”
(quotations omitted)). To do otherwise would be to “invite the
jury to .. . decide the meaning of a particular claim term” in

violation of Markman. Verizon Servs. Corp. v. Cox Fibernet Va.,

 

 

Inc., 602 F.3d 1325, 1334 (Fed. Cir. 2010).

In determining the plain and ordinary meaning of a term,
courts “first look to, and primarily rely on, the intrinsic
evidence, including the claims themselves, the specification,
and the prosecution history of the patent, which is usually

dispositive.” Personalized Media Commc’ns, LLC v. Apple Inc.,

 

952 F.3d 1336, 1340 (Fed. Cir. 2020) (quotations omitted).
Although the specification “is the single best guide to the
meaning of a disputed term,” it is improper to import
limitations from the specification, such as the embodiments
described there. Phillips, 415 F.3d at 1315, 1323-27. The
language of “[o]ther claims of the patent in question, both
asserted and unasserted,” can “illuminate the meaning of the
same term in other claims” because “claim terms are normally
used consistently throughout the patent... .” Id. at 1314.
“Differences among claims can also be a useful guide in
understanding the meaning of particular claim terms.” Id. “For

example, the presence of a dependent claim that adds a

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particular limitation gives rise to a presumption that the
limitation in question is not present in the independent claim.”
Id. at 1314-15.

Extrinsic evidence, although “less significant” and “less
reliable” than intrinsic evidence, likewise “can shed useful
light on the relevant art.” Id. at 1317, 1318 (quotations
omitted). Because dictionaries and treatises “endeavor to
collect the accepted meanings of terms used in various fields of
science and technology, those resources have been properly
recognized as among the many tools that can assist the court in
determining the meaning of particular terminology to those of
skill in the art of the invention.” Id. at 1318. In all
events, courts cannot rely on extrinsic evidence that
contradicts the intrinsic record. Id. at 1324.

III. ANALYSIS

This Court pauses to make two important points. First,
regarding DePuy’s means-plus-function challenges, none of the
disputed terms include the word “means,” so section 112, I 6
presumptively does not apply. See Williamson, 792 F.3d at 1349.
DePuy, in turn, bears the burden of demonstrating by a
preponderance of the evidence “that the claim term fails to
recite sufficiently definite structure or else recites function
without reciting sufficient structure for performing that

function.” See id. (quotations omitted); Life360, 830 F.3d at

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1347. Rasmussen bears no burden in this regard. See Linear,
379 F.3d at 1319-20.

Second, in its “customary” claim construction analyses,
this Court will give each disputed term its plain and ordinary
meaning. DePuy pursues neither patentee-as-lexicographer nor
disavowal, the “only two exceptions” to the general
applicability of the plain-and-ordinary-meaning rule, and this
Court discerns no basis for the application of either exception.?
See Thorner, 669 F.3d at 1365.

A. “tibial component,” “second member,” and “tibial
contact member”

The parties agree that this Court ought give only one
construction for “tibial component,” “second member,” and
“tibial contact member.” Second Statement 1. This Court
therefore refers to these terms collectively as the “tibial
component.”

DePuy argues that section 112, 7 6 applies. First
Statement A-1 to A-4. DePuy contends that if the statute does
not apply, tibial component means “tibial plate with central
opening.” Second Statement 1. Rasmussen responds that section
112, 4 6 does not apply, First Statement A-1 to A-4, and that

tibial component means “member, component, or structural unit

 

2 This Court does not interpret DePuy’s cursory citations to
be a late-stage attempt to pursue either exception. See, €.g.,
Defs.’ Suppl. Br. 5; see also Pl.’s Suppl. Br. 2 & nn.1-2.

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for positioning at a tibia,” Second Statement 1. This Court
rules that section 112, 4 6 does not apply, and it construes
tibial component as “component configured to be seated on, at,
or against a portion or proximal portion of a tibia.”
1. Means-Plus~Function

The intrinsic and extrinsic records recite sufficient
structure for the tibial component. Claim language reveals that
the tibial component, second member, and tibial contact member
are structural units of a larger “device” or “assembly” (in the
case of the ‘180 Patent) or “apparatus” (in the case of the ‘583
Patent) which comprises them. See ‘180 Patent col. 22, ll. 57-
67, col. 23, 11. 1-3 (claim 1), col. 23, 11. 10-14 (claim 3),
col. 23, ll. 24-28 (claim 7), col. 23, 11. 29-37 (claim 8), col.
23, ll. 38-53 (claim 9), col. 24, 11. 10-27 (claim 15), col. 24,
ll. 34-45 (claim 17), col. 24, 11. 53-67, col. 25, ll. 1-5
(claim 19), col. 25, 11. 15-21, col. 26, 11. 1-10 (claim 22),
col. 26, 11. 11-16 (claim 23); ‘583 Patent col. 22, 11. 60-67,
col. 23, 11. 1-7 (claim 1), col. 23, 11. 14-21 (claim 3), col.
23, 11. 26-31 (claim 5), col. 23, ll. 38-51 (claim 7), col. 23,
11. 52-57 (claim 8), col. 24, 11. 4-15 (claim 11), col. 24, 11.

16-39 {claim 12), col. 24, 11. 40-45 (claim 13), col. 24, 11.

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46-53 (claim 14), col. 24, 11. 65-67, col. 25, 11. 1-2 (claim
17).

The specifications likewise recite structure. They teach,
for instance, the “placement of the tibial component” and the
fact that “[t]he knee implant 200 generally comprises a femoral
component 202 and a tibial component 204.” See ‘180 Patent col.
21, ll. 21-23 (citing figs. 49-50); ‘583 Patent col. 21, ll. 26-
28 (same). The specifications also explain that “[t]he present
invention meets the .. . needs” of the prior art by providing
“a reference point for accurately positioning the tibial and
femoral components of the knee implant, in particular when said
structure is in tensed or otherwise loaded condition.” ‘180
Patent col. 1, 11. 63-66, col. 2, 1. 26; ‘583 Patent col. 2, ll.
1-5, 32.

DePuy’s own briefing includes references to intrinsic and
extrinsic evidence which indicate that the tibial component
recites sufficient structure. On the first page of its opening
brief, for example, DePuy uses arrows to point to structural
details of figure 51 of the ‘180 patent, highlighting the
“Tibial Components” in blue. Defs.’ Br. 1. DePuy goes on to
describe what is “commonly called a ‘tibial component.’” Id.
(emphasis added). In its responsive brief, DePuy again uses
arrows to point to what it labeled a “Tibial component” ina

petition for inter partes review of a different patent. Defs.’

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Resp. 2; see Decl. Jacob B. Pecht Supp. Rasmussen Instruments,
LLC’s Suppl. Claim Construction Br. (“Pecht Decl.”), Ex. C, Pet.
Inter Partes Review 37 C.F.R. § 42.100 6, ECF No. 83-3. DePuy’s
highlighting and explanations indicate that tibial component is
“used in common parlance or by persons of skill in the pertinent
art to designate structure... .” See Iancu, 933 F.3d at 1341
(quotations omitted); see also, e.g., 21 C.F.R. § 888.3510
(United States Food and Drug Administration discussing “tibial

component”); Howmedica Osteonics Corp. v. Wright Med. Tech.,

 

 

Inc., 540 F.3d 1337, 1340 (Fed. Cir. 2008) (discussing “tibial

component”); Zimmer Tech., Inc. v. Howmedica Osteonics Corp.,

 

453 F. Supp. 2d 1030, 1053 (N.D. Ind. 2006) (same); Regents of
Univ. of Cal. v. Howmedica, Inc., 530 F. Supp. 846, 855 (D.N.J.
1981) (same); Pecht Decl., Ex. D, U.S. Patent No. 5669914A, ECF
No. 83-4 (same); Pecht Decl., Ex. E, U.S. Patent No. 4945904A,
ECF No. 83-5 (same); Pl.’s Suppl. Br. 19 n.25 (collecting
patents reciting “tibial component”).

For extrinsic support, DePuy cites a blog post from 2016.
Defs.’ Br. 14 & n.2. Like DePuy’s highlighting, however, this
blog post indicates that the tibial component connotes
structure. The blog post explains that “tibial component”
refers to “[t]Jhe flat part that attaches to the top of the
resurfaced shin bone at the front of the leg (tibia).” See

Grace McClure & Dr. Trevor North, Different Types of Knee

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Replacement Implants, PeerWell (Oct. 3, 2016),
https: //peerwell.co/blog/different-types-of-knee-replacement—
implants.

Finally, DePuy takes aim at “component,” “configured to,”
and locational language in these claim terms, arguing that such
language does not connote structure. Defs.’ Br. 7 (citing

Diebold Nixdorf, Inc. v. Int’l Trade Comm'n, 899 F.3d 1291, 1298

 

(Fed. Cir. 2018) (holding that section 112, I 6 applied where
“the claims describe the term. .. solely in relation to its

function and location in the apparatus”); Cypress Lake Software,

 

Inc. v. ZTE (USA) Inc., Case No. 17-CV-00300-RWS, 2018 WL

 

4035968, at *14 (B.D. Tex. Aug. 23, 2018) (ruling that “the
functional modifier . . . ‘component’” did “not connote
structure”)); Defs.’ Resp. 6-8 (citing Rain Computing, Inc. v.

Samsung Elecs. Am., Inc., 989 F.3d 1002, 1006 (Fed. Cir. 2021)

 

(holding that “a user identification module configured to

control access of” was no more structural than “a user

 

identification module for accessing”)). Rasmussen, for its
part, contends that “courts have routinely held that section
112, 2 6 does not apply to claims that recite ‘configured to’ or

other similar language.” Pls.’ Br. 5 (citing Huawei Techs. Co.

 

Ltd. v. Verizon Comme’ns, Inc., Case No. 20-00030-JRG, 2021 WL

 

 

150442, at *12 (E.D. Tex. Jan. 15, 2021) (ruling that “unit

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configured to” and “subunit configured to” recite sufficient
structure)).

DePuy misses the mark for two reasons. First, even if
“component,” “configured to,” and locational language do not
connote structure, and indeed connote function, “the mere fact
that the disputed limitations incorporate functional language
does not automatically convert the words into means for
performing such functions.” See Zeroclick, 891 F.3d at 1008.
Second, the issue is not whether such language, standing alone,
connotes structure or instead connotes function. See Iancu, 933
F.3d at 1342 (explaining that the section 112, 7 6 inquiry
extends beyond the consideration of the disputed terms “in
isolation”). Rather, the issue is whether a person of ordinary
skill in the art, reading the entire intrinsic and extrinsic
record in light of the presumption that flows from Rasmussen’ s
decision not to include the word “means,” would “understand the
claim language to refer to structure... .” See Samsung, 948
F.3d at 1354. To turn a phrase from DePuy’s briefing, here it
is “the detailed structure provided elsewhere in the claims”
that prevents the application of section 112, 1 6. See Defs.’

Resp. 7.

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2. Construction
This Court construes “tibial component” as “component
configured to be seated on, at, or against a portion or proximal
portion of a tibia.”
This Court rejects DePuy’s proposal. First, a person of
ordinary skill in the art might well understand a “tibial plate”

to refer to a different invention. See, e.g., Tibia Fractures,

 

DePuy Synthes, https://www.jnjmedicaldevices.com/en-
US/procedure/tibia-fractures (last visited Oct. 26, 2021)
(listing seven different types of “tibia plates,” none of which
resemble a tibial component). Second, there is no basis to add
the limitation “with central opening” because neither the
intrinsic nor extrinsic record indicates that the tibial
component must have an opening, let alone a “central opening.”3
See generally ‘180 Patent; ‘583 Patent. For example, figures 49
and 50, which depict “tibial component 204,” do not show any
opening at all. See ‘180 Patent figs. 49-50.

The specifications teach the following: “A combination of a
first assembly for guiding resection of a femur and tibia of a

knee joint and a second assembly including femoral and tibial

 

3 The specifications do teach a “central opening” and
“centrally located opening,” but only with respect to the

“femoral mount,” “hex-head bolt,” and “base member” -- never the
“tibial component.” See, e.g., ‘180 Patent col. 3, ll. 4-6

(femoral mount), col. 8, 11. 23-34 (same), col. 15, 11. 50-54
(hex-head bolt), col. 17, 11. 55-58 (base member).

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knee components. The combination of the first assembly and the
second assembly provides optimal placement and positioning of
the femoral and tibial knee components to achieve near-normal
knee kinematics and tension,” ‘180 Patent (Abstract); ‘583
Patent (Abstract); “Preservation of the ligamentous and other
soft tissue structures around the knee can provide a reference
point for accurately positioning the tibial and femoral
components of the knee implant, in particular when said
structure is in tensed or otherwise loaded condition,” ‘180
Patent col. 1, ll. 62-66; ‘583 Patent col. 2, ll. 1-5; “The
present invention meets the above needs, and achieves other
advantages, by providing an assembly for guiding resection of a
femur and tibia of a knee joint in preparation for installing
femoral and tibial knee components,” ‘180 Patent col. 2, li. 26-
30; ‘583 Patent col. 2, ll. 32-36; “the use of the flexion bolt
in flexion and the extension bolt in extension, combined with
the other components of the tensioning assembly, allow the tibia
and femur to be distracted under a matching amount of tension in
flexion and extension to ensure a better fit for the tibial and
femoral knee replacement components throughout a range of
flexion,” ‘180 Patent col. 5, 11. 27-33; ‘583 Patent col. 5, 11.
36-42; “An assembly 10 of the present invention for facilitating
preparation of a knee joint, including guiding positioning of

cuts to a femur 11 and tibia 12 of the knee joint, for later

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mating with femoral and tibial knee replacement components, is
shown in the accompanying figures,” ‘180 Patent col. 7, ll. 41-
45; *583 Patent col. 7, 11. 50-54; “Defined on the outer
cylindrical surface of the femoral mount 15 is a plurality of
longitudinally extending gauge marks 21 that aid in positioning
of the tibial and femoral components,” ‘180 Patent col. 8, ll.
34-37; ‘583 Patent col. 8, ll. 43-46; “The use of the bolts 30
and 96 or 105 and the tibial angulation guide 74 or valgus
adapter member 110 allow the tibia and femur to be distracted
under a matching amount of torque in flexion and extension to
ensure a better fit for the tibial and femoral knee replacement
components throughout a range of flexion,” ‘180 Patent col. 16,
ll. 34-39; ‘583 Patent col. 16, 11. 41-46; an embodiment
involving the displacement of “the tibia forward or anterior to
allow exposure for placement of the tibial component,” ‘180
Patent col. 16, ll. 49-51; ‘583 Patent col. 16, ll. 56-58; and
“The knee implant 200 generally comprises a femoral component
202 and a tibial component 204,” ‘180 Patent col. 21, ll. 21-23
(citing figs. 49-50); ‘583 Patent col. 21, 11. 26-28 (same).
This Court must read the claims in light of these
teachings. See Phillips, 415 F.3d at 1323. In each independent
claim reciting tibial component, a tibial component is
“configured to be seated” on, at, or against a portion or

proximal portion of a tibia. See ‘180 Patent col. 22, 11. 57-

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67, col. 23, 11. 1-3 (claim 1), col. 23, 11. 38-53 (claim 9),
col. 24, 11. 10-27 (claim 15), col. 24, 11. 53-67, col. 25, ll.
1-5 (claim 19), col. 25, 11. 15-21, col. 26, 11. 1-10 (claim
22). In each dependent claim reciting tibial component, a
tibial component is adjusted in relation to the femoral
component or seated in the knee joint while a threaded member
may articulate with it. See id. col. 23, 11. 10-14 (claim 3),
col. 23, 11. 24-28 (claim 7), col. 23, ll. 29-37 (claim 8), col.
24, ll. 34-45 (claim 17), col. 26, 11. 11-16 (claim 23). No
more is exigible to understand the plain and ordinary meaning of
tibial component. See, e.g., Hill-Rom Servs., Inc. v. Stryker
Corp., 755 F.3d 1367, 1376-77 (Fed. Cir. 2014).

Accordingly, this Court construes “tibial component” as
“component configured to be seated on, at, or against a portion
or proximal portion of a tibia.”

B. “femoral component,” “femoral element,” “first
member,” and “elongated member”

The parties agree that this Court ought give only one
construction for “femoral component,” “femoral element,” “first

member,” and “elongated member.”4 Second Statement 1-2. This

 

4 This Court recognizes that with respect to “femoral
component,” “femoral element,” and “first member,” Rasmussen
proposes “member, component, or structural unit for positioning
at a femur,” but with respect to “elongated member” Rasmussen
proposes “elongated member, component, or structural unit for
positioning at a femur.” Second Statement 1-2 (emphasis added).
In light of DePuy’s agreement that “all the things the

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Court therefore refers to these terms collectively as the
“femoral component.”

DePuy argues that section 112, 4 6 applies. First
Statement A-1 to A-4. DePuy contends that if the statute does
not apply, femoral component means “femoral intramedullary rod.”
Second Statement 1. Rasmussen responds that section 112, 7 6
does not apply, First Statement A-5 to A-10, and that femoral
component means “member, component, or structural unit for
positioning at a femur,” Second Statement 1. This Court rules
that section 112, 1 6 does not apply, and it construes femoral
component as “component configured to extend into a femur when
seated in the femur or at a distal portion of the femur.”

1. Means-Plus-—Function

DePuy fails to rebut the presumption that femoral component
is outside the scope of section 112, 71 6. Both the ‘180 Patent
and the ‘583 Patent repeatedly describe the femoral component in
structural terms.

The specifications teach the following: “A combination of a
first assembly for guiding resection of a femur and tibia of a
knee joint and a second assembly including femoral and tibial

knee components. The combination of the first assembly and the

 

specification describes as meeting the femoral-related
limitations” are “‘elongated,’” Defs.’ Suppl. Br. 11 n.2, this
Court discerns no reason to give elongated member a different
construction.

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second assembly provides optimal placement and positioning of
the femoral and tibial knee components to achieve near-normal
knee kinematics and tension,” ‘180 Patent (Abstract); ‘583
Patent (Abstract); “Preservation of the ligamentous and other
soft tissue structures around the knee can provide a reference
point for accurately positioning the tibial and femoral
components of the knee implant, in particular when said
structure is in tensed or otherwise loaded condition,” ‘180
Patent col. 1, 11. 62-66; ‘583 Patent col. 2, ll. 1-5; ‘The
present invention meets the above needs, and achieves other
advantages, by providing an assembly for guiding resection of a
femur and tibia of a knee joint in preparation for installing
femoral and tibial knee components,” ‘180 Patent col. 2, ll. 26-
30; ‘583 Patent col. 2, 11. 32-36; “[T]he use of the flexion
bolt in flexion and the extension bolt in extension, combined
with the other components of the tensioning assembly, allow the
tibia and femur to be distracted under a matching amount of
tension in flexion and extension to ensure a better fit for the
tibial and femoral knee replacement components throughout a
range of flexion,” ‘180 Patent col. 5, 11. 27-33; ‘583 Patent
col. 5, ll. 36-42; “An assembly 10 of the present invention for
facilitating preparation of a knee joint, including guiding
positioning of cuts to a femur 11 and tibia 12 of the knee

joint, for later mating with femoral and tibial knee replacement

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components, is shown in the accompanying figures,” ‘180 Patent
col. 7, ll. 41-45; ‘583 Patent col. 7, 11. 50-54; “Defined on
the outer cylindrical surface of the femoral mount 15 is a
plurality of longitudinally extending gauge marks 21 that aid in
positioning of the tibial and femoral components,” ‘180 Patent
col. 8, ll. 34-37; ‘583 Patent col. 8, 11. 43-46; “The use of
the bolts 30 and 96 or 105 and the tibial angulation guide 74 or
valgus adapter member 110 allow the tibia and femur to be
distracted under a matching amount of torque in flexion and
extension to ensure a better fit for the tibial and femoral knee
replacement components throughout a range of flexion,” ‘180
Patent col. 16, 11. 34-39; ‘583 Patent col. 16, ll. 41-46; an
embodiment involving a “mini-trial femoral component” which
“could be designed with cutting surfaces or slots for making the
chamfer cuts and other finishing cuts,” ‘180 Patent col. 16, l.
67, col. 17, ll. 1-2; ‘583 Patent col. 17, ll. 7-9; “The knee
implant 200 generally comprises a femoral component 202 and a
tibial component 204,” ‘180 Patent col. 21, 11. 21-23 (citing
figs. 49-50); ‘583 Patent col. 21, 11. 26-28 (same); and prior
art involving a “femoral component 202 [with] a spherical
condyle 206 on the medial side,” ‘180 Patent col. 21, 11. 58-60;
‘583 Patent col. 21, 11. 61-63.

The language of other claims likewise describes the femoral

component in structural terms. See generally ‘180 Patent; ‘583

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Patent. The same is true of the other terms which the parties
agree should be given essentially the same construction
(“femoral element,” “first member,” and “elongated member”) .5
See Second Statement 1-2; see generally ‘180 Patent; ‘583
Patent.

For same reason that DePuy’s argument from caselaw and
extrinsic evidence failed with respect to tibial component, it
fails with respect to femoral component, too. See supra Section
III.A.1. (citing Zeroclick, 891 F.3d at 1008; Iancu, 933 F.3d at
1342; Samsung, 948 F.3d at 1354); see, e.g., Defs.’ Br. 1
(highlighting “Femoral Components” in yellow and describing what
is “commonly called a ‘femoral component” (emphasis added)), 14
(explaining that the ‘180 Patent “use[s] ‘femoral component’ to
refer to such a structure” and that “the specification actually
calls those structures ‘femoral components’” (emphasis added));
Pecht Decl., Ex. C, Pet. Inter Partes Review 37 C.F.R. § 42.100
6 (pointing to “Femoral component” in petition for inter partes
review of different patent).

Accordingly, this Court rules that DePuy fails to rebut the
presumption that femoral component is outside the scope of

section 112, 7 6.

 

5 “The use of the terms ‘first’ and ‘second’ is a common
patent-law convention to distinguish between repeated instances
of an element or limitation.” 3M Innovative Props. Co. v. Avery
Dennison Corp., 350 F.3d 1365, 1371 (Fed. Cir. 2003).

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2. Construction

This Court construes femoral component as “component
configured to extend into a femur when seated in the femur or at
a distal portion of the femur.”

DePuy invites this Court to construe femoral component as
“femoral intramedullary rod.” Second Statement 1. In support,
DePuy argues that the embodiments depict the femoral component
as comprising only one structure, a femoral intramedullary rod.
Defs.’ Suppl. Br. 13. “[B]ut a patent claim term is not limited
merely because the embodiments in the specification all contain
a particular feature.” See C.R. Bard, Inc. v. U.S. Surgical
Corp., 388 F.3d 858, 865 (Fed. Cir. 2004). Here, claim language
leads this Court to decline DePuy’s invitation. See Phillips,
415 F.3d at 1315, 1323-27.

It is true that one independent claim of the ‘180 Patent
recites “a femoral component comprising an intramedullary rod
configured to be inserted into a femur.” ‘180 Patent col. 24,
11. 10-27 (claim 15). Critically, however, another independent
claim of the ‘180 Patent recites “a femoral component” that
itself “is configured to extend into a femur when the femoral
component is seated in the femur.” Id. col. 24, ll. 53-67, col.
25, 11. 1-5 (claim 19). Thus, although the femoral component of
independent claim 15 requires an intramedullary rod, the femoral

component of independent claim 19 does not.

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There is another flaw in DePuy’s proposal. Some dependent
claims indicate that the femoral component comprises a femoral
intramedullary rod. See id. col. 25, ll. 6-10 (claim 20); ‘583
Patent col. 23, ll. 26-31 (claim 5), col. 23, 11. 32-37 (claim
6), col. 24, 11. 54-59 (claim 15), col. 24, 11. 60-64 (claim
16). The independent claims from which these claims stem,
however, do not contain such a limitation. See ‘180 Patent col.
24, 11. 53-67, col. 25, 11. 1-5 (claim 19); ‘583 Patent col. 22,
ll. 60-67, col. 23, 11. 1-7 (claim 1), col. 24, 11. 16-39 (claim
12). To adopt DePuy’s proposal thus would disregard the maxim
that “the presence of a dependent claim that adds a particular
limitation gives rise to a presumption that the limitation in
question is not present in the independent claim.” See
Phillips, 415 F.3d at 1315.

With respect to the femoral component, the specifications
teach the following: “A combination of a first assembly for
guiding resection of a femur and tibia of a knee joint and a
second assembly including femoral and tibial knee components.
The combination of the first assembly and the second assembly
provides optimal placement and positioning of the femoral and
tibial knee components to achieve near-normal knee kinematics
and tension,” ‘180 Patent (Abstract); ‘583 Patent (Abstract);
“Preservation of the ligamentous and other soft tissue

structures around the knee can provide a reference point for

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accurately positioning the tibial and femoral components of the
knee implant, in particular when said structure is in tensed or
otherwise loaded condition,” ‘180 Patent col. 1, 11. 62-66; ‘583
Patent col. 2, 11. 1-5; “The present invention meets the above
needs, and achieves other advantages, by providing an assembly
for guiding resection of a femur and tibia of a knee joint in
preparation for installing femoral and tibial knee components,”
‘180 Patent col. 2, 11. 26-30; ‘583 Patent col. 2, 11. 32-36;
“(T]he use of the flexion bolt in flexion and the extension bolt
in extension, combined with the other components of the
tensioning assembly, allow the tibia and femur to be distracted
under a matching amount of tension in flexion and extension to
ensure a better fit for the tibial and femoral knee replacement
components throughout a range of flexion,” ‘180 Patent col. 5,
ll. 27-33; ‘583 Patent col. 5, ll. 36-42; “An assembly 10 of the
present invention for facilitating preparation of a knee joint,
including guiding positioning of cuts to a femur 11 and tibia 12
of the knee joint, for later mating with femoral and tibial knee
replacement components, is shown in the accompanying figures,”
‘180 Patent col. 7, ll. 41-45; ‘583 Patent col. 7, 1l. 50-54;
“Defined on the outer cylindrical surface of the femoral mount
15 is a plurality of longitudinally extending gauge marks 21
that aid in positioning of the tibial and femoral components,”

4180 Patent col. 8, 11. 34-37; ‘583 Patent col. 8, ll. 43-46;

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“The use of the bolts 30 and 96 or 105 and the tibial angulation
guide 74 or valgus adapter member 110 allow the tibia and femur
to be distracted under a matching amount of torque in flexion
and extension to ensure a better fit for the tibial and femoral
knee replacement components throughout a range of flexion,” ‘180
Patent col. 16, 11. 34-39; ‘583 Patent col. 16, 11. 41-46; in
one embodiment, “The mini-trial femoral component could be
designed with cutting surfaces or slots for making the chamfer
cuts and other finishing cuts, thus eliminating the need for a
chamfer cut block and L-plate 99 shown in FIGS. 30 and 31,” ‘180
Patent col. 16, l. 67, col. 17, 11. 1-3; ‘583 Patent col. 17,
ll. 7-10; “The knee implant 200 generally comprises a femoral
component 202 and a tibial component 204,” ‘180 Patent col. 21,
ll. 21-23 (citing figs. 49-50); ‘583 Patent col. 21, 11. 26-28
(same); and prior art involving a “femoral component 202 {with]
a spherical condyle 206 on the medial side,” ‘180 Patent col.
21, 11. 58-60; *583 Patent col. 21, 11. 61-63.

This Court must read the claims in light of these
teachings. See Phillips, 415 F.3d at 1323. In so doing, this
Court construes femoral component as “component configured to
extend into a femur when seated in the femur or at a distal

portion of the femur.”

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c. “configured/configured to”

With respect to “configured/configured to,” DePuy proposes
“assembled,” and Rasmussen proposes “designed to, adapted to, or
manufactured to.” Second Statement 2. This Court construes
“configured/configured to” as “manufactured.”

This Court rejects DePuy’s proposal. “Assembled” is not a
term of art; it is the simple past tense of “assemble,” which
means “to fit together various parts of so as to make into an
operative whole.” Webster’s Third New Int’1 Dictionary 130
(Philip Babcock Gove ed., 3d ed. 2002). Accordingly, under
DePuy’s construction, the subject of claims reciting the verb
“configured” necessarily would require the fitting together of
various parts. This finds support with respect to the “femoral
component comprising an intramedullary rod configured to be
inserted into a femur,” see ‘180 Patent col. 24, 11. 10-13, but
it finds no support with respect to the “femoral component
configured to be seated at a distal portion of a femur,” see id.
col. 25, 11. 15-18. In the latter scenario, the femoral
component could not be “assembled” because it consists of only

one part.®

 

6 To the extent that DePuy suggests that all the claimed
“parts must be assembled to ‘comprise’ a device or apparatus,”
see Defs.’ Suppl. Resp. Claim Construction Br. 1, 18-19, ECF No.
86 (citing Deepsouth Packing Co. v. Laitram Corp., 406 U.S. 518,
528 (1972)), DePuy essentially asks this Court to determine
whether, for example, the tibial component is “assembled” with

 

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In its supplemental brief, Rasmussen argues that “the
claims clearly and carefully delineate between being ‘configured
to’ do something, and actually doing something.” Pl1.’s Suppl.
Br. 5. For support, Rasmussen points to independent claim 9 of
the ‘180 Patent, which recites “a threaded member that is
configured to be coupled to the elongated member,” ‘180 Patent
col. 23, 11. 49-53 (emphasis added), and to dependent claim 12,
which recites “the threaded member is coupled to the elongated
member,” id. col. 23, ll. 62-63 (emphasis added). It appears
that Rasmussen suggests that the claims differentiate between
parts which are “configured to” do something, i.e., parts which
may do something, and parts which must do something. See Pl.’s
Suppl. Br. 4-7. But Federal Circuit “cases distinguish between
claims with language that recites capability, and those that

recite configuration,” ParkerVision, Inc. v. Qualcomm Inc., 903

 

F.3d 1354, 1361 (Fed. Cir. 2018), holding that “configured to”
generally has a narrower meaning than “capable of” or “suitable

for,” Aspex Eyewear, Inc. v. Marchon Eyewear, Inc., 672 F.3d

 

1335, 1349 (Fed. Cir. 2012); see Radware Ltd. v. Al0 Networks,

 

Inc., Case Nos. C-13-2021 RMW, C-13-02024-RMW, 2014 WL 1572644,
at *12 (N.D. Cal. Apr. 18, 2014) (stating that “configured to”

is a “patent term of art” and noting that “courts have generally

 

the femoral component. This is a different question, and it is
one on which this Court expresses no opinion.

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interpreted ‘configured to’ more narrowly than simply ‘capable

of'”); see also SIPCO, LLC v. Abb, Inc., Civil Action No. 11-CV-

 

0048 LED-JDL, 2012 WL 3112302, at *11 (E.D. Tex. July 30, 2012)
(“Interpreting ‘configured to’ as requiring only mere capability
would eliminate any meaningful limits to the claims.”), adopted

sub nom. SIPCO, LLC v. Abb, Inc., NO. llcv48 LED-JDL, 2012 WL

 

12842877 (E.D. Tex. Oct. 23, 2012).

Here, “configured/configured to” appears in all asserted
claims and passim in the specifications. Second Statement 2;
see generally ‘180 Patent; ‘583 Patent. A careful consideration
of its many appearances leads this Court to conclude that the
1180 Patent and ‘583 Patent use “configured/configured to” ina
narrow sense, meaning “manufactured.”

D. “femoral component comprising an intramedullary
rod . . . with an opening”

DePuy proposes construing “femoral component comprising an
intramedullary rod .. . with an opening” as “hollow femoral
intramedullary rod.” Second Statement 2. Rasmussen proposes
“plain and ordinary meaning,” though it fails to state what that
plain and ordinary meaning is. See id. This Court rules that a
“femoral component comprising an intramedullary rod . . . with
an opening” need not be hollow, and it declines further to

construe the term.

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The parties’ dispute raises the question whether the
“femoral component comprising an intramedullary rod... with
an opening” must be hollow. This Court answers that question in
the negative. Even if DePuy were correct that “the femoral
component of claim 15 is a femoral [intramedullary] rod with or
without an opening in it, but if the opening is in the femoral
component, then the femoral component is a hollow
[intramedullary] rod,” Defs.’ Br. 16, its proposal would not
follow. First, the opening is not necessarily in the femoral
component; it could instead (or additionally) be in the tibial
component. See ‘180 Patent col. 24, 11. 10-27 (“[A] femoral
component comprising an intramedullary rod configured to be
inserted into a femur . . . wherein a portion of the tensioning
apparatus is configured to couple with an opening in at least
one of the femoral component and the tibial component ”
(emphasis added)). Second, contrary to DePuy’s antecedent~basis
argument, see Defs.’ Resp. 13, claim 15 indeed recites “an
opening,” but this opening need only be “in at least one of the
femoral component and the tibial component,” ‘180 Patent col.
24, 11. 10-27.

Against this backdrop, this Court declines further to
construe “femoral component comprising an intramedullary
rod . . . with an opening” because it has resolved the parties’

dispute regarding the “hollowness” (vel non) of the term. See

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02 Micro, 521 F.3d at 1361. Read in context and alongside this
Court’s other constructions, “the plain and ordinary meaning of
the disputed claim language is clear.” See Summit 6, 802 F.3d
at 1291. It suffices to rule, therefore, that no further
construction is necessary. See Phillips, 415 F.3d at 1314 ("In
some cases, the ordinary meaning of claim language as understood
by a person of skill in the art may be readily apparent even to
lay judges, and claim construction in such cases involves little
more than the application of the widely accepted meaning of
commonly understood words.”); Brown, 265 F.3d at 1352 (stating
that terms which “are not technical terms of art . . . do not
require elaborate interpretation”).

Accordingly, this Court rules that a “femoral component
comprising an intramedullary rod. . . with an opening” need not
be hollow, and it declines further to construe the term.

E. “eannulated insert”

DePuy proposes construing “cannulated insert” as “hollow
femoral intramedullary rod.” Second Statement 2. Rasmussen
proposes “plain and ordinary meaning,” though it fails to state
what that plain and ordinary meaning is. See id. This Court
rules that a “cannulated insert” need not be hollow and need not
be a femoral intramedullary rod, and it declines further to

construe the term.

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Cannulated insert appears only once, in claim 18 of the
‘180 Patent. See ‘180 Patent col. 24, 11. 46-52. Claim 18
recites that the cannulated insert (1) “defines the opening,”
(2) “receives the intramedullary rod,” and (3) “is configured to
be inserted into the femur... .” Id. None of these
limitations require the cannulated insert to be “hollow.”

First, the only other appearances of “defines” or
“defining” an opening refer to the femoral component. Id. col.
22, 11. 57-59 (claim 1), col. 23, 11. 38-40 (claim 9). There
the femoral component defines an opening, but the ‘180 Patent
nowhere describes it as hollow, and this Court already has
rejected DePuy’s suggestion that the “femoral component
comprising an intramedullary rod . . . with an opening” must be
hollow. See supra Section III.D. Moreover, the verb “defines”
in this context means “to mark the limits of” or “determine with
precision or exhibit clearly the boundaries of” the opening,
which does not require “hollowness,” an adjective denoting
emptiness. See Webster’s Third New Int’l1 Dictionary 592, 1080
(defining “hollow” as “having an empty space or cavity within”).

Second, a person of ordinary skill in the art would
understand “receives” as “take[s] in... .” Id. 1894. To
“take in” likewise does not require hollowness; interlocking
puzzle pieces, for instance, take each other in, but they are

not hollow.

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Finally, a person of ordinary skill in the art would
understand “configured to be inserted” as “manufactured to be
inserted,” see infra Section III.C., which is to say nothing
about the hollowness of the cannulated insert. This Court sees
no other intrinsic or extrinsic basis requiring the cannulated
insert to be hollow.

This Court also rejects DePuy’s argument that the “insert”
necessarily is a “femoral intramedullary rod” because claim 18
distinguishes between the “cannulated insert that defines the
opening” and the “intramedullary rod” that the cannulated insert
receives. See ‘180 Patent col. 24, 11. 46-52.

Against this backdrop, this Court declines further to
construe “cannulated insert” because it has resolved the
parties’ dispute regarding its “hollowness” and nature as a
“femoral intramedullary rod” (vel non). See O02 Micro, 521 F.3d
at 1361. Read in context and alongside this Court’s other
constructions, “the plain and ordinary meaning of the disputed
claim language is clear.” See Summit 6, 802 F.3d at 1291. It
suffices to rule, therefore, that no further construction is
necessary. See Phillips, 415 F.3d at 1314; Brown, 265 F.3d at
1352.

Accordingly, this Court rules that a “cannulated insert”
need not be hollow and need not be a femoral intramedullary rod,

and it declines further to construe the term.

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EF. “tensioning apparatus” and “adjustable component”

DePuy argues that section 112, 4 6 applies to “tensioning
apparatus” and “adjustable component.” First Statement A-10 to
A-15. DePuy further states that it “does not have constructions
to offer for ‘tensioning apparatus’ and ‘adjustable component’
that are not means-plus-function constructions.” Defs.’ Suppl.
Br. 19. Rasmussen responds that section 112, 7 6 does not apply
to these terms, First Statement A-10 to A-15, and proposes
“plain and ordinary meaning,” Second Statement 2-4, though it
fails to state what that plain and ordinary meaning is. This
Court rules that section 112, 9 6 does not apply, and it
declines further to construe these terms.

1. Means-Plus-Function

DePuy fails to rebut the presumption that “tensioning
apparatus” and “adjustable component” are outside the scope of
section 112, 1 6. The specifications of the ‘180 Patent and
‘583 Patent make no mention of these terms, but the relevant
claim language recites sufficient structure. See generally ‘180
Patent; ‘583 Patent.

With respect to “tensioning apparatus,” which appears only
in the ‘180 Patent, independent claim 1 requires the tensioning
apparatus to (1) “couple[] to both the femoral component and the
tibial component” and (2) be “configured to be selectively

actuated to vary a distance between the femoral component and

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the tibial component to apply a desired ligamentous tension to
the knee joint.” See ‘180 Patent col. 22, ll. 65-67, col. 23,
11. 1-3. Dependent claims 2, 3, 4, 7, and 8 likewise recite
structure. See id. col. 23, ll. 4-9 (claim 2), col. 23, 11. 10-
14 (claim 3), col. 23, 11. 15-18 (claim 4), col. 23, ll. 24-28
(claim 7), col. 23, 11. 29-37 (claim 8).

Independent claim 15 requires the tensioning apparatus to
(1) be “configured to be interposed between the femoral
component and the tibial component” and (2) be “configured to be
actuated to move the femoral component and the tibial component
with respect to each other,” and “a portion of the tensioning
apparatus” to be “configured to couple with an opening in at
least one of the femoral component and the tibial
component ... .” Id. col. 24, 11. 10-27. Dependent claims
16, 17, and 18 likewise recite structure. See id. col. 24, ll.
28-33 (claim 16), col. 24, 11. 34-45 (claim 17), col. 24, ll.
46-52 (claim 18).

Independent claim 19 requires the tensioning apparatus to
(1) “couple[] to both the femoral component and the tibial
component,” (2) be “configured to be selectively actuated to
vary a distance between the femoral component and the tibial
component to apply a desired ligamentous tension to the knee
joint,” and (3) “couple[] to the femoral component such that a

portion of the femoral component is configured to be rotatable

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with respect to a portion of the tensioning apparatus to allow
for adjustment of a varus-valgus alignment between the femur and
the tibia when the assembly is seated in the knee joint.” Id.
col. 24, 11. 53-67, col. 25, 11. 1-5.

Independent claim 22 requires the tensioning apparatus to
(1)”couple[] to the femoral component and the tibial component”
and (2) be “configured to be actuated to vary a distance between
a portion of the femoral component and a portion of the tibial
component,” and “a portion of the tensioning apparatus” to
“pivotally couple[] to the femoral component such the apparatus
provides for rotational movement between the tensioning
apparatus and the femoral component to allow for adjustment of a
varus-valgus angulation between the femur and the tibia.” Id.
col. 25, ll. 15-21, col. 26, 11. 1-10. Dependent claim 24
likewise recites structure. See id. col. 26, ll. 17-21.

With respect to “adjustable component,” which appears only
in the ‘583 Patent, independent claim 1 requires the adjustable
component to be “configured to couple the first member with the
second member such that the second member is rotatable about a
longitudinal axis of the first member when a position of the
first member is constant with respect to the femur to allow for
adjustment of an angle between the tibia and the femur when the
apparatus is seated in the knee joint.” ‘583 Patent col. 22,

11. 60-67, col. 23, 11. 1-7. Dependent claim 3 and 5 likewise

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recite structure. See id. col. 23, 11. 14-21 (claim 3), col.
23, 11. 26-31 (claim 5).

Independent claim 7 requires the adjustable component to
“connect[] the elongated member with the tibial contact member
such that the tibial contact member is rotatable about a
longitudinal axis of the elongated member when the apparatus is
seated in the knee joint, when the elongated member is fixed in
position with respect to the femur, and when the knee joint is
in a flexed position.” Id. col. 23, 11. 38-51. Dependent
claims 8 and 11 likewise recite structure. See id. col. 23, ll.
52-57 (claim 8), col. 24, 11. 4-15 (claim 11).

As they did with respect to “tibial component” and “femoral
component,” the parties disagree about the import of decisions
involving similar (but not identical) claim terms in other
patents. Compare Pl.’s Br. 17-18 (citing DePuy Spine, Inc. v.

Medtronic Sofamor Danek, Inc., 469 F.3d 1005, 1023-24 (Fed. Cir.

 

2006) (construing “compression member”); Medtronic, Inc. v.

Edwards Lifesciences Corp., Civil No. 11-1650 (JNE/JSM), 2013 WL

 

2147909, at *9-10 (D. Minn. May 16, 2013) (construing
“tensioning component”); Boston Sci. Corp. v. Cook Group Inc.,
Civil Action No. 15-980-LPS-CJB, 2017 WL 1364205, at *1-5 (D.
Del. Apr. 12, 2017) (construing “tension member”)), with Defs.’
Resp. 17-18 (distinguishing decisions). There, as here, in

attempting to distinguish Rasmussen’s cited decisions, DePuy

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itself recites the reason that it fails to rebut the
presumption: “the rest of the claim(s] provide[] more than
purely functional language and provide[] sufficient structure to
avoid the application of section 112, 71 6.’” See Defs.’ Resp.
18 (quoting Medtronic, 2013 WL 2147909, at *10).
2. Construction

DePuy “does not have constructions to offer for ‘tensioning
apparatus’ and ‘adjustable component’ that are not means-plus-
function constructions.” Defs.’ Suppl. Br. 19. Rasmussen
proposes “plain and ordinary meaning,” though it fails to state
what that plain and ordinary meaning is. See Second Statement
2-4.

Against this backdrop, the Court declines further to
construe “tensioning apparatus” and “adjustable component”
because it has resolved the parties’ dispute regarding the

applicability of section 112, 41 6 (vel non). See O02 Micro, 521

 

F.3d at 1361. Read in context and alongside this Court’s other
constructions, “the plain and ordinary meaning of the disputed
claim language is clear.” See Summit 6, 802 F.3d at 1291. It
suffices to rule, therefore, that no further construction is
necessary. See Phillips, 415 F.3d at 1314; Brown, 265 F.3d at
1352.

Accordingly, this Court rules that section 112, I 6 does

not apply, and it declines further to construe these terms.

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G. “threaded member”

DePuy proposes construing “threaded member” as “bolt with a
head and an externally threaded shaft.” Second Statement 5.
Rasmussen proposes “plain and ordinary meaning,” though it fails
to state what that plain and ordinary meaning is. See id. This
Court construes the term as “member with internal or external
threads.”

This Court rejects DePuy’s proposal for two reasons.
“Threaded member” appears only in the ‘180 Patent. See
generally ‘180 Patent. First, it is true that claim 11 of the
‘180 Patent recites that a “threaded object” may “threadingly
receive[] the threaded member,” meaning that the threaded member
may have an externally threaded shaft. See id. col. 23, ll. S7-
61. Claim 11, however, depends from independent claim 9, which
does not indicate whether the threads are internal or external
to the member. See id. col. 23, 11. 38-53. This Court
therefore must give effect to the “presumption that the
limitation in question,” here the external threading recited in
claim 11, “is not present in the independent claim,” claim 9.
See Phillips, 415 F.3d at 1315.

Second, DePuy responds that “(c]llaim 9’s silence as to
whether the ‘threaded member’ is externally or internally
threaded cannot broaden the scope of the term beyond the only

construction supported by the specification.” Defs.’ Resp. 22

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(citing Intellectual Ventures I LLC v. Motorola Mobility LLC,

 

870 F.3d 1320, 1326 (Fed. Cir. 2017)). This response misses the
mark because the specification of the ‘180 Patent teaches
multiple embodiments of both externally threaded structures
(including bolts 30, 96, 105, 130, and 120) and internally
threaded structures (including threaded opening 116 into
threaded barrel 115, threaded opening 29 extending into tibial
mount 23, and threaded opening 129 extending into femoral mount
150). See ‘180 Patent figs. 4-7, 9-15, 19-29, 32-40, 43-48,
col. 9, ll. 20-39, col. 12, 11. 60-65, col. 15, 11. 50-54, col.
17, ll. 17-27, col. 17, 11. 33-44. This Court therefore cannot
conclude that a threaded member necessarily has an externally
threaded shaft. See Phillips, 415 F.3d at 1323 (cautioning
against “importing limitations from the specification into the
claims”). This Court’s construction reflects that the member
must be threaded, either internally or externally.

This Court rejects the remainder of DePuy’s proposal (“bolt
with a head”) because there is no intrinsic or extrinsic basis
to limit a threaded member to a “bolt,” let alone a “polt with a
head.” See generally ‘180 Patent; ‘583 Patent.

Accordingly, this Court construes “threaded member” as

“member with internal or external threads.”

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H. “coupl [e/es/ed/ing]”

DePuy proposes construing “coupl[e/es/ed/ing]” as “directly
connect [s/ed/ing].” Second Statement 5. Rasmussen proposes
“plain and ordinary meaning, where, for purposes of
clarification, the term includes direct and/or indirect
coupling.” Id. This Court construes the term as
“connect [s/ed/ing] directly or indirectly.”

The parties’ dispute raises the question whether “coupling”
means “directly connecting” or instead means “directly or
indirectly connecting.” There is apparently no dispute that to
“couple” means to “connect.” See Pl.’s Br. 23 (“As an initial
matter, there is no apparent dispute between the parties that
‘couple’ is synonymous with ‘connect.’” (citing Kete Decl., Ex.
G, Couple, The American Heritage Dictionary of the English
Language 419 (4th ed. 2006), ECF No. 44-7 (defining “couple” as
“[t]o link together; connect”); id. Ex. J, Couple, Webster’s
College Dictionary 284 (2005), ECF No. 44-10 (defining “couple”
as “to join; connect” and “to join or associate by means of a
coupler”); id. Ex. K, Couple, Collins English Dictionary 385-386
(7th ed. 2005), ECF No. 44-11 (defining “couple” as “to connect
(two things) together or to connect (one thing) to
(another)”))); see Defs.’ Br. 23 (“The dispute over these terms

is whether they require a direct connection.”).

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There is no basis to conclude that coupling means only
directly connecting. Most appearances of this disputed term
indicate nothing at all about whether the structures involved
are directly or indirectly connected. Claim 12 of the ‘583
Patent, for instance, recites that the “the elongated member and
the tibial contact member are configured to couple together,”
but it does not specify either a direct or indirect connection.
See ‘583 Patent col. 24, 11. 33-34.

Other claims contemplate indirect coupling, though they do
not use such precise language. Claim 18 of the ‘180 Patent, for
example, recites that “the tensioning apparatus is configured to
couple with the opening by coupling with the intramedullary rod,
which, in turn, couples with the opening.” ‘180 Patent col. 24,
1l. 49-52. The specifications likewise teach that
“Te]mbodiments of the present assembly can include tibial and

femoral [intramedullary] rods which are connected through a

torque bolt,” id. col. 2, ll. 32-34 (emphasis added); ‘583

 

Patent col. 2, 11. 38-40 (same), and that “[t]he tibial
angulation guide is configured to attach to the tibial
[intramedullary] rod through the cannulated extension bolt which

is, in turn, coupled to the tibial [intramedullary] rod,” ‘180

 

Patent col. 4, 11. 29-32 (emphasis added); ‘583 Patent col. 4,

11. 36-39 (same).

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This Court’s construction is in accord with Federal Circuit
and other well-reasoned precedent. See, e.g., Bradford Co. v.
Conteyor N. Am., Inc., 603 F.3d 1262, 1270-71 (Fed. Cir. 2010)
(holding that “coupled to . . . should be construed broadly so
as to allow an indirect attachment” (quotations omitted) );
Genentech, Inc. v. Chiron Corp., 112 F.3d 495, 501 (Fed. Cir.
1997) (“To be joined or connected does not necessitate a direct

joining or connection.”); Silicon Graphics, Inc. v. n Vidia

 

Corp., 58 F. Supp. 2d 331, 345-47 (D. Del. 1999) (construing
“coupled” as “coupled or connected, directly or indirectly”);

SwimWays Corp. v. Zuru, LLC, No. 13cv334, 2014 WL 934447, at *7-

 

8 (E.D. Va. Mar. 10, 2014) (construing “coupled to said torso”
as “connected to said torso, either directly or indirectly”);

Eppendorf AG v. Nanosphere Inc., Civil Action No. 09-0504, 2010

 

WL 2757097, at *7-8 (D. Del. July 12, 2010) (construing “coupled
to” as “encompass[ing] indirect linking”).
Accordingly, this Court construes “coupl[e/es/ed/ing]” as

“connect [s/ed/ing] directly or indirectly.”

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Iv. CONCLUSION

This Court sets forth its constructions below.

SO ORDERED.

 
    
 

WILLIAM G.
JUDGE
of th

UNITED STATES?

 

7 This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’ma Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 43 years.

[46]
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Term |

Patent Owner’s Construction

Accused Infringers’ Construct i

 

 

1. “tibial component”

(‘180 patent, claims 1,
9, 15)

 

2. “second member”

(‘583 patent, claims 1
and 3)

 

3. “tibial contact
member”

(‘583 patent, claims 7
and 12)

member, component, or
structural unit for positioning at
a tibia

tibial plate with central opening

35 U.S.C. § 112, J 6 does
not apply.

“component configured to
be seated on, at, or against a
portion or proximal portion
of a tibia”

 

4. “femoral component”

(‘180 patent, claims 1, 6
and 9)

 

5. “femoral element”

(°583 patent, claims 2
and 12)

 

6. “first member”

(‘583 patent, claim 1)

member, component, or
structural unit for positioning at
a femur

femoral intramedullary rod

35 U.S.C. § 112, { 6 does
not apply.

“component configured to
extend into a femur when
seated in the femur or at a
distal portion of the femur”

 

7. “elongated member”

(°583 patent, claim 7)

elongated member, component,
or structural unit for positioning
at a femur

femoral intramedullary rod

35 U.S.C. § 112, | 6 does
not apply.

“component configured to
extend into a femur when
seated in the femur or at a
distal portion of the femur”

 

 

8. “configured”

(all asserted claims)

 

designed to, adapted to, or
manufactured to

 

assembled

 

“manufactured”

 

 
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9. “femoral component
comprising an
intramedullary rod...
with an opening”

(‘180 patent, claims 15
and 18)

plain and ordinary meaning

hollow femoral intramedullary rod

Need not be hollow.

No further construction
necessary.

 

10. “cannulated insert”

(‘180 patent, claim 18)

plain and ordinary meaning

hollow femoral intramedullary rod

Need not be hollow.

Need not be a femoral
intramedullary rod.

No further construction
necessary.

 

 

11. “tensioning apparatus
that couples to both the
femoral component and
the tibial component and
that is configured to be
selectively actuated to
vary a distance between
the femoral component
and the tibial component
to apply a desired
ligamentous tension to
the knee joint”

plain and ordinary meaning

 

 

§ 112,96

Functions: (1) coupling to both the
femoral component and the tibial
component; and (2) varying a
distance between the femoral
component and the tibial
component

Structures: (1) flexion bolt 30,
femoral mount 15, and a torque
wrench; (2) extension bolt 96,
femoral mount 15, angulation
adapter 74, and a torque wrench;

 

35 U.S.C. § 112, | 6 does
not apply.

No further construction
necessary.

 

 
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(180 patent, claim 1)

(3) hex head bolt 105, adapter
member 110, and a torque wrench;
(4) flexion bolt 120, threaded barrel
115, bushing 125, and torque
wrench 140; (5) extension bolt 130
and torque wrench 140; and (6)
threaded barrel 115, ratcheting
device 142, and bushing 125

 

 

12. “tensioning apparatus
configured to be
interposed between the
femoral component and
the tibial component and
configured to be actuated
to move the femoral
component and the tibial
component with respect
to each other”

(‘180 patent, claim 15)

plain and ordinary meaning

 

 

§ 112,96

Functions: (1) interposing between
the femoral component and the
tibial component; and (2) moving
the femoral component and the
tibial component with respect to
each other

Structures: (1) flexion bolt 30,
femoral mount 15, and a torque
wrench; (2) extension bolt 96,
femoral mount 15, angulation
adapter 74, and a torque wrench;
(3) hex head bolt 105, adapter
member 110, and a torque wrench;
(4) flexion bolt 120, threaded barrel
115, bushing 125, and torque
wrench 140; (5) extension bolt 130
and torque wrench 140; and (6)
threaded barrel 115, ratcheting
device 142, and bushing 125

 

35 U.S.C. § 112, | 6 does
not apply.

No further construction
necessary.

 

 
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13. “adjustable
component that is
configured to couple the
first member with the
second member such that
the second member is
rotatable about a
longitudinal axis of the
first member”

(‘583 patent, claim 1)

plain and ordinary meaning

§ 112,96

Functions: coupling the first
member with the second member
such that the second member is
rotatable about a longitudinal axis
of the first member

Structures: (1) flexion bolt 30,
femoral mount 15 (Fig. 33), and a
torque wrench; (2) flexion bolt 120,
threaded barrel 115, bushing 125,
and torque wrench 140; (3)
threaded barrel 115, ratcheting
device 142, and bushing 125

35 U.S.C. § 112, | 6 does
not apply.

No further construction
necessary.

 

 

14. “adjustable
component that connects
the elongated member
with the tibial contact
member such that the
tibial contact member is
rotatable about a
longitudinal axis of the
elongated member”

(‘583 patent, claim 7)

 

plain and ordinary meaning

 

§ 112, 1 6

Functions: connecting the elongated
member with the tibial contact
member such that the tibial contact
member is rotatable about a
longitudinal axis of the elongated
member

Structures: (1) flexion bolt 30,
femoral mount 15, and a torque
wrench; (2) flexion bolt 120,
threaded barrel 115, bushing 125,
and torque wrench 140; (3)
threaded barrel 115, ratcheting
device 142, and bushing 125

 

35 U.S.C. § 112, 6 does
not apply.

No further construction
necessary.

 

 
 

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Term

   

‘Patent Owner’
‘| Construction ©

 
  

cused Infring
Construction

_ Court’s

  

 

 

15. threaded member

(‘180 patent, claims 9
and 12)

plain and ordinary
meaning

bolt with a head and

an externally
threaded shaft

“member with internal or
external threads”

 

16. couple[e/es/ed/ing]
(‘180 patent, claims 1, 9,
12, 15, 18; “583 patent,
claims 1, 12)

 

plain and ordinary
meaning, where, for
purposes of
clarification, the
term includes direct
and/or indirect
coupling

 

directly connect/s/ed/ing

 

“connect[s/ed/ing] directly
or indirectly”

 

 
